             Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 1 of 17




                         IN THE UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                    HOUSTON DIVISION

                                                                     §
    In re:                                                           §     Chapter 11
                                                                     §
    CHESAPEAKE ENERGY CORPORATION, et al.,1                          §     Case No. 20-33233 (DRJ)
                                                                     §
                                      Debtors.                       §     Jointly Administered
                                                                     §

            DEBTORS’ EMERGENCY MOTION FOR ENTRY OF AN ORDER
          ENFORCING THE AUTOMATIC STAY AGAINST THE OFFICE OF THE
         ATTORNEY GENERAL OF THE COMMONWEALTH OF PENNSYLVANIA


             EMERGENCY RELIEF HAS BEEN REQUESTED. A HEARING WILL BE CONDUCTED ON
             THIS MATTER ON JULY 17, 2020, AT 9:00 A.M. (CENTRAL TIME) IN COURTROOM 400, 4TH
             FLOOR, 515 RUSK STREET, HOUSTON, TEXAS 77002. IF YOU OBJECT TO THE RELIEF
             REQUESTED OR YOU BELIEVE THAT EMERGENCY CONSIDERATION IS NOT
             WARRANTED, YOU MUST EITHER APPEAR AT THE HEARING OR FILE A WRITTEN
             RESPONSE PRIOR TO THE HEARING. OTHERWISE, THE COURT MAY TREAT THE
             PLEADING AS UNOPPOSED AND GRANT THE RELIEF REQUESTED.

             RELIEF IS REQUESTED NOT LATER THAN JULY 17, 2020.

             PLEASE NOTE THAT ON MARCH 24, 2020, THROUGH THE ENTRY OF GENERAL ORDER
             2020-10, THE COURT INVOKED THE PROTOCOL FOR EMERGENCY PUBLIC HEALTH OR
             SAFETY CONDITIONS.
             IT IS ANTICIPATED THAT ALL PERSONS WILL APPEAR TELEPHONICALLY AND ALSO
             MAY APPEAR VIA VIDEO AT THIS HEARING.
             AUDIO COMMUNICATION WILL BE BY USE OF THE COURT’S REGULAR DIAL-IN NUMBER.
             THE DIAL-IN NUMBER IS +1(832) 917-1510. YOU WILL BE RESPONSIBLE FOR YOUR OWN
             LONG-DISTANCE CHARGE S. YOU WILL BE ASKED TO KEY IN THE CONFERENCE ROOM
             NUMBER. JUDGE JONES’S CONFERENCE ROOM NUMBER IS 205691.
             PARTIES MAY PARTICIPATE IN ELECTRONIC HEARINGS BY USE OF AN INTERNET
             CONNECTION. THE INTERNET SITE IS WWW.JOIN.ME. PERSONS CONNECTING BY
             MOBILE DEVICE WILL NEED TO DOWNLOAD THE FREE JOIN.ME APPLICATION.
             ONCE CONNECTED TO WWW.JOIN.ME, A PARTICIPANT MUST SELECT “JOIN A
             MEETING”. THE CODE FOR JOINING THIS HEARING BEFORE JUDGE JONES IS
             “JUDGEJONES”. THE NEXT SCREEN WILL HAVE A PLACE FOR THE PARTICIPANT’S NAME
             IN THE LOWER LEFT CORNER. PLEASE COMPLETE THE NAME AND CLICK “NOTIFY”.
             HEARING APPEARANCES SHOULD BE MADE ELECTRONICALLY AND IN ADVANCE OF THE
             HEARING. YOU MAY MAKE YOUR ELECTRONIC APPEARANCE BY:

             1) GOING TO THE SOUTHERN DISTRICT OF TEXAS WEBSITE;

1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://dm.epiq11.com/chesapeake. The location of Debtor Chesapeake
      Energy Corporation’s principal place of business and the Debtors’ service address in these chapter 11 cases is
      6100 North Western Avenue, Oklahoma City, Oklahoma 73118.
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 2 of 17




       2) SELECTING “BANKRUPTCY COURT” FROM THE TOP MENU;

       3) SELECTING JUDGES’ PROCEDURES AND SCHEDULES;

       4) SELECTING “VIEW HOME PAGE” FOR JUDGE JONES;

       5) UNDER “ELECTRONIC APPEARANCE” SELECT “CLICK HERE TO SUBMIT ELECTRONIC
       APPEARANCE;”

       6) SELECT CHESAPEAKE ENERGY CORPORATION, ET AL. FROM THE LIST OF
       ELECTRONIC APPEARANCE LINKS, AND

       7) AFTER SELECTING CHESAPEAKE ENERGY CORPORATION, ET AL. FROM THE LIST,
       COMPLETE THE REQUIRED FIELDS AND HIT THE “SUBMIT” BUTTON AT THE BOTTOM OF
       THE PAGE.
       SUBMITTING YOUR APPEARANCE ELECTRONICALLY IN ADVANCE OF THE HEARING
       WILL NEGATE THE NEED TO MAKE AN APPEARANCE ON THE RECORD AT THE HEARING



       The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state the following in support of this motion.

                               Summary of the Relief Requested

       Despite the Debtors having sought relief under the United States Bankruptcy Code, they

find themselves subject to the continued efforts of the Office of the Attorney General of the

Commonwealth of Pennsylvania (“PA AG”) to collect a debt allegedly owed to citizens of the

State. More perplexing, the PA AG continues to stand in the way of agreed compromises of the

disputes reached with class representatives asserting claims on behalf of themselves and those

similarly situated. The Debtors ask that this Court enter an order prohibiting the PA AG from

continued violations of the Bankruptcy Code.

                                     Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334. This matter is a core

proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue is proper pursuant to 28 U.S.C.




                                                 2
         Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 3 of 17




§§ 1408 and 1409. The statutory bases for the relief requested herein are sections 105 and 362 of

title 11 of the United States Code (the “Bankruptcy Code”).

                                              Relief Requested

         2.       The Debtors seek entry of an order (“the Order”), enforcing the automatic stay with

respect to the actions of the PA AG in the litigation styled Commonwealth of Pennsylvania v.

Chesapeake Energy Corporation, No. 2015IR0069 (Pa. Ct. Com. Pl.) and related appeal (“PA AG

Lawsuit”).

                                                 Background

I.       Pennsylvania Royalty Litigation

         3.       Chesapeake is the lessee under approximately 14,000 operating oil and gas leases

in Pennsylvania. The leases can be categorized generally as “MEC Leases” and “Non-MEC

Leases.” MEC Leases are leases that have a form of royalty provision known as a Market

Enhancement Clause (“MEC”). MEC Leases generally provide that royalty owners share in post-

production costs that enhance the value of marketable gas, but do not share in post-production

costs to make the gas marketable. Non-MEC Leases consist substantially of leases that expressly

provide that royalty owners share in post-production costs.

         4.       There are three principal lawsuits against Chesapeake pending in Pennsylvania, two

of which were brought by private plaintiffs:

             The MEC Class Action. The MEC Class Action (the Demchak/Burkett litigation) was
              filed in 2013 and seeks damages for alleged underpayment of royalties for MEC
              Leases.2 The primary allegation is that Chesapeake took post-production cost
              deductions before the gas was marketable.



2
     Demchak Partners Limited Partnership v. Chesapeake Appalachia, L.L.C., No. 3:13-cv-02289-MEM (M.D. Pa.)
     The Demchak settlement includes plaintiffs in a related arbitration, Burkett v. Chesapeake Energy Corp., Arb.
     No. 14-115-00436-13 (AAA). Order, Demchak (M.D. Pa. Dec. 30, 2014), ECF No. 82 (granting Burketts’ motion
     to intervene as plaintiffs for settlement purposes only).



                                                        3
          Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 4 of 17




              The Non-MEC Class Action. The Non-MEC Class Action (the Brown/Suessenbach
               litigation) was filed in 2014 and seeks damages for alleged underpayment of royalties
               for Non-MEC Leases.3 The primary allegation is that Chesapeake took post-production
               cost deductions that were inflated. Both the MEC and Non-MEC Class Actions are
               pending before Judge Malachy E. Mannion of the United States District Court for the
               Middle District of Pennsylvania.

              MEC & Non-MEC Class Settlements. Chesapeake and the class plaintiffs in the MEC
               Class Action and the Non-MEC Class Action negotiated separate class action
               settlements, each of which provides a monetary fund and specified prospective relief
               for class members, among other relief.4 Both settlements have been pending approval;
               however, such approval has been put on hold by an objection and overlapping lawsuit
               brought by the PA AG (the “PA Objection and Lawsuit”).

              The PA AG Lawsuit. The PA AG later initiated a lawsuit seeking recovery of damages
               for alleged royalty underpayments for Pennsylvania lessors. This action was filed in
               Pennsylvania state court in 2015, after the MEC Class Action settlement had been
               preliminarily approved, and simultaneously with the PA AG’s objection to approval of
               the MEC Class Action Settlement. The primary allegation is that Chesapeake took
               post-production deductions from royalties after allegedly representing during the
               leasing process that there would be no such deductions. The PA AG asserted claims
               under the Pennsylvania Unfair Trade Practices & Consumer Protection Law (the
               “UTPCPL”) and state antitrust common law. Since the filing of the PA AG Lawsuit
               more than four years ago, the threshold disputed issue is whether the PA AG has
               authority to assert UTPCPL claims on behalf of lessors. That legal issue is currently
               pending on interlocutory appeal before the Pennsylvania Supreme Court.

II.       The MEC Class Action, the Non-MEC Class Action, and the Class Settlements

          5.       On August 30, 2013, the MEC Class Action lawsuit was filed. Plaintiffs alleged

that Chesapeake underpaid royalties by deducting costs that were incurred before the gas was

“marketable” under the terms of the MEC Leases.




3
      Brown v. Access Midstream Partners, L.P., No. 3:14-cv-00591-MEM (M.D. Pa.). Brown was consolidated for
      settlement with another related action, Suessenbach Family Limited Partnership v. Access Midstream Partners,
      L.P., No. 3:14-cv-01197-MEM (M.D. Pa.).

4
      For example, the Non-MEC Class Settlement provides prospective relief that permits Non-MEC lessors to choose
      a royalty provision that is based on either (i) an in-basin index price without any post-production cost deductions,
      or (ii) a downstream sales price net of pro-rata post-production costs. The primary mediator of the settlements
      was the retired Chief Judge of the Eastern District of Pennsylvania, Edward Cahn. The parties also had the
      assistance of well-known oil and gas mediator John Perry, Jr.



                                                            4
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 5 of 17




       6.      On March 28, 2014, the Non-MEC Class Action lawsuit was filed. Plaintiffs

alleged that Chesapeake underpaid royalties by deducting inflated post-production costs under the

terms of the Non-MEC Leases.

       7.      On October 2, 2015, the district court in the MEC Class Action certified a

settlement class and preliminarily approved a class settlement. The MEC Class Settlement

provided a lump-sum settlement payment of over $17 million at that time and a revised royalty

formula on a go-forward basis.

       8.      In August 2018, the parties in the Non-MEC Class Action also reached a class

settlement that was submitted to the court for preliminary approval. The Non-MEC Class

Settlement provided for a $7.75 million settlement fund and a revised royalty formula on a go-

forward basis. Together, the MEC and Non-MEC Class Settlements would resolve virtually all

Pennsylvania royalty claims against Chesapeake.

III.   The PA AG Objection and Lawsuit

       9.      On December 9, 2015, the PA AG filed an objection to the proposed MEC Class

Settlement, requesting that the federal court reject the proposed settlement in its current form. The

PA AG argued that the settlement attempted to release parens patriae claims that only the

Commonwealth had standing to assert. Based on the PA AG’s objection, on January 5, 2016, the

district court stayed the final fairness hearing in the MEC Class Action. Both MEC and Non-MEC

Class Actions have remained stayed due to the PA AG Objection and Lawsuit.

       10.     On the same day that it objected to the MEC Class Settlement, the PA AG,

purportedly as parens patriae on behalf of Pennsylvania landowners, filed a complaint in

Pennsylvania state court alleging that Chesapeake Energy Corporation and three of its affiliates

violated the UTPCPL and Pennsylvania antitrust common law. The PA AG’s allegations center




                                                 5
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 6 of 17




on Chesapeake’s purported improper post-production cost deductions from royalty payments,

pursuant to the same leases at issue in the MEC and Non-MEC Class Actions. The PA AG alleges

that Chesapeake made misrepresentations to landowners during the leasing process regarding

Chesapeake’s right to take post-production cost deductions from royalty payments. The PA AG

seeks monetary damages on behalf of the Pennsylvania lessor landowners, civil penalties, and a

permanent injunction restraining Chesapeake from “engaging in the acts and practices allege in

this complaint and any other acts and practices that violate the UTPCPL.” PA AG Second Am.

Compl. at 35-36.

       11.        At its core, the PA AG Lawsuit concerns how royalties should be paid to

Pennsylvania lessors and seeks the recovery of money damages for alleged royalty

underpayments—the same relief sought in the MEC and Non-MEC Class Actions. The first

paragraph of the PA AG’s complaint states: “This action seeks to recover for Pennsylvania

Landowners money wrongfully deducted from royalty checks as a result of the wrongful conduct

of Defendants. . . .” See PA AG Second Am. Compl. ¶ 1. Similarly, the complaint later states that

the action seeks an order compelling Chesapeake “to restore to Pennsylvania Landowners any

moneys which may have been acquired by means of any violation of the UTPCPL.” Id. at pp. 35,

61, 70, 77, 81.

IV.    Substantial Mediation Efforts

       12.        In the nearly five years following the filing of the PA AG Objection and Lawsuit,

the parties engaged in substantial mediation efforts to resolve the Pennsylvania royalty cases. The

mediation process involved over 12 law firms representing plaintiff lessors and the settlement

classes. As described further below, the district court repeatedly urged the PA AG to mediate with

the parties to the MEC Class Action and the Non-MEC Class Action.




                                                  6
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 7 of 17




       13.     On June 27, 2016, the district court held a status conference in the MEC Class

Action with the parties and the PA AG. By this point, the PA AG had moved for a stay of

discovery, amended its complaint twice, and the PA AG Lawsuit had not advanced beyond the

motion to dismiss stage. Furthermore, the PA AG had declined to identify any purportedly

“deceived” lessor. At the status conference, lead class counsel explained his concern with the PA

AG’s objection to the class settlement and resulting delay in achieving a class settlement:

       But the fact is, we have already achieved a settlement that is an excellent one, all
       things considered for these landowners in Pennsylvania. . . . [W]e think it’s critical
       that the parties talk with insistence from your Honor and figure out a way to get
       this done, especially given that Chesapeake has the money now. We don’t know
       what the future is going to bring for any of us. But what we do know is that there
       is a fund of approximately 20 million dollars that is sitting there ready to be
       distributed to these class members, and we need to move this process along so that
       that can be accomplished.

June 27, 2016 Hr’g Tr. 19-20, Demchak (M.D. Pa. July 8, 2016), ECF No. 160.

       14.     The district court also expressed serious concern with further delays to the

settlement caused by the PA AG Objection and Lawsuit: “[I]t seems to me while I’m sure the

Attorney General’s Office is trying to [do] what’s best for the public, the longer your case takes

the longer that those people that are waiting for compensation have to get it, and that’s not in the

public interest nor in their interest.” Id. at 23 (emphasis added). Judge Mannion implored the

PA AG and the MEC Class Action parties to participate in a mediation, which was unsuccessful.

       15.     Throughout 2017, Chesapeake and the PA AG held four in-person meetings to

discuss potential settlement. In December 2017, the district court held another status conference

with the parties and the PA AG. The district court stated that the PA AG Lawsuit “ultimately is

going to settle” and again urged the PA AG to resolve the PA AG Lawsuit in mediation:

       So why is it that the Attorney General doesn’t want to engage itself with somebody
       like Judge Cahn when it’s not a binding arbitration to see if they can work these
       remaining things out, rather than sit around in some ethereal academic world for



                                                 7
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 8 of 17




       the next five years in what we all know? I can tell you that this case ultimately is
       going to settle. It is going to settle. My case, your case, they are going to settle,
       and yet it seems to me that there ought to be a quicker way at this stage, three years
       or four years, depending on how many years we’re into this case, there ought to be
       a better way.”

See Dec. 20, 2017 Hr’g Tr. 54-56, Demchak (M.D. Pa. Dec. 27, 2017), ECF No. 186.

       16.     In 2016, Chesapeake filed a motion to dismiss the PA AG’s Second Amended

Complaint on the grounds that the PA AG could not assert UTPCPL claims on behalf of private

landowners because (a) Chesapeake is a purchaser of mineral rights and the UTPCPL does not

regulate the conduct of buyers, and (b) the UTPCPL does not authorize the Attorney General to

seek remedies for alleged anticompetitive conduct. The trial court denied Chesapeake’s motion to

dismiss in relevant part, but noted that the issues raised were “close and extremely difficult,”

concluded that an immediate appeal would greatly benefit the litigation, and specifically stated

that the trial court would sua sponte certify two questions regarding the contours of the UTPCPL.

Op. & Orders on Prelim. Objs. of Chesapeake Defs. & Anadarko Defs. to Pl. Commonwealth’s

Second Am. Compl. at 31, 73-75, Commonwealth v. Chesapeake Energy Corp., No. 2015IR0069

(Pa. Ct. Com. Pl. Dec. 14, 2017). The court then granted Chesapeake permission to file an

interlocutory appeal to the Commonwealth Court, and that court affirmed, in part, the trial court’s

decision. On October 30, 2019, the Pennsylvania Supreme Court granted Chesapeake’s petition

for allowance of appeal, and the parties argued the interlocutory appeal on May 27, 2020. A final

decision is pending before the Pennsylvania Supreme Court.

V.     PA AG Objection to Automatic Stay

       17.     On June 28, 2020 (the “Petition Date”), the Debtors filed petitions for relief in this

court under Chapter 11 of the Bankruptcy Code.




                                                 8
       Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 9 of 17




       18.     On June 29, 2020, the Debtors filed a Notice of Suggestion of Bankruptcy with

the Pennsylvania Supreme Court in the PA AG Lawsuit, attached hereto as Ex. A.

       19.     On July 2, 2020, the PA AG filed a Response to the Debtors’ Notice of Suggestion

of Bankruptcy (the “Response”) with the Pennsylvania Supreme Court, attached hereto as Ex. B.

See also Commonwealth of Pa.’s Resp. to Appellant Chesapeake’s Notice of Suggestion of

Pendency of Bankruptcy & Automatic Stay of Proceedings, Dkt. 273-1 (July 6, 2020). The PA

AG argued that that the PA AG Lawsuit “clearly constitutes an exercise of its ‘police and

regulatory power’ under the applicable legal standards. . . .” Resp. § B(1). Furthermore, the PA

AG requested that the Pennsylvania Supreme Court declare that the PA AG Lawsuit “is excepted

from the automatic stay by the operation of 11 U.S.C. § 362(b)(4)” and sought an order permitting

the action to “proceed up to, and including, the entry of a final judgment against the [Debtors].”

See Resp. Prayer for Relief; id. § B(12).

VI.    Continued Settlement Discussions with Class Plaintiffs

       20.     Since the Petition Date, the Debtors and plaintiffs in the MEC Class Action and the

Non-MEC Class Action have engaged in settlement discussions, including as recently as July 8,

2020. Counsel for class plaintiffs continue to support a settlement with the Debtors to resolve their

class royalty underpayment claims. Chesapeake is also interested in resolving the PA AG’s

concerns on a reasonable basis within the confines of the bankruptcy process.

                                            Basis for Relief

I.     The Automatic Stay Applies To The PA AG Lawsuit Seeking Recovery For
       Underpaid Royalties.

       21.     Section 362(a)(1) of the Bankruptcy Code applies to the PA AG Lawsuit. The

purpose of the automatic stay is to provide debtors with a “breathing spell from [their] creditors”




                                                   9
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 10 of 17




and channel competing claims for a debtor’s assets into a single forum to provide a platform for

the debtor’s reorganization. Browning v. Navarro, 743 F.2d 1069, 1083 (5th Cir. 1984).

       22.     Given its fundamental importance to a debtor’s reorganization, courts broadly

construe the Bankruptcy Code’s automatic stay provisions.        See Padilla v. Wells Fargo Home

Mortg., Inc. (In re Padilla), 379 B.R. 643, 662 (Bankr. S.D. Tex. 2007); Nat’l Mediation Bd. v.

Cont’l Airlines Corp. (In re Cont’l Airlines Corp.), 50 B.R. 342, 350 (S.D. Tex. 1985), aff’d, 790

F.2d 35 (5th Cir. 1986) (per curiam).

       23.     The bankruptcy court has authority to fashion appropriate remedies for violations

of the automatic stay. See, e.g., 11 U.S.C. §§ 105(a), 362(k).

       24.     Bankruptcy courts have original jurisdiction over “all civil proceedings arising

under title 11, or arising in or related to cases under title 11.” 28 U.S.C. § 1334(b). Though “state

courts have jurisdiction to rule on the applicability of the automatic stay to non-debtors, they do

not have authority to do so when the automatic stay precludes the continuation of the proceeding

against the debtor.” In re Edwin A. Epstein, Jr. Operating Co., 314 B.R. 591, 599 (Bankr. S.D.

Tex. 2004) (emphasis added). And “[i]t is undisputed that only a bankruptcy court has jurisdiction

to terminate, annul or modify the automatic stay.” Id. at 600.

       25.     Any action a party takes in violation of the automatic stay is voidable and may

warrant a finding of civil contempt—even if the party taking such action had no knowledge of the

bankruptcy filing. See, e.g., BroadStar Wind Sys. Grp. Ltd. Liab. Co. v. Stephens, 459 F. App’x

351, 356-57 (5th Cir. 2012) (per curiam); West v. Peterson (In re Noram Res., Inc.), Adv. No. 11-

03598, 2015 WL 5965654, at *4-5 (Bankr. S.D. Tex. Oct. 9, 2015).

       26.     The PA AG’s recent filing in the PA AG Lawsuit, in which it seeks an order

permitting the action to “proceed up to, and including, the entry of a final judgment against the




                                                 10
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 11 of 17




[Debtors],” Resp. § B(12), constitutes a violation of the automatic stay under 11 U.S.C. § 362(a).

The PA AG may eventually seek relief from the automatic stay for cause by filing a motion before

this Court under 11 U.S.C. § 362(d). Until the Court grants such relief, the automatic stay remains

in place. See, e.g., In re JCP Props., Ltd., 540 B.R. 596, 613 (Bankr. S.D. Tex. 2015).

II.    The Police Power Exception To The Automatic Stay Does Not Apply To The PA AG
       Lawsuit.

       27.     The Debtors anticipate that the PA AG will argue that the police power exception

to the automatic stay applies to the PA AG Lawsuit, consistent with the filing it made in the

Supreme Court of Pennsylvania. In reality, however, the PA AG Lawsuit does not fall within any

of the enumerated exceptions to the automatic stay and, in particular, fails to meet the police power

exception.

       28.     Section 362(b)(4) of the Bankruptcy Code provides a limited exception to the

automatic stay for “the commencement or continuation of an action or proceeding by a

governmental unit . . . to enforce such governmental unit’s or organization’s police and regulatory

power, including the enforcement of a judgment other than a money judgment, obtained in an

action or proceeding by the governmental unit to enforce such governmental unit’s . . . police or

regulatory power.” 11 U.S.C. § 362(b)(4).

       29.     The PA AG Lawsuit does not fall within the police or regulatory power exception

to the automatic stay. The PA AG Lawsuit does not involve a core governmental activity—such

as health, welfare, or safety—or environmental protection, but rather involves oil-and-gas royalty

calculation claims pursuant to written oil-and-gas leases that can, and were, brought by private

parties. The fact that the PA AG asserted claims that it alleges only it can assert (which

Chesapeake contests and is the issue currently pending before the Pennsylvania Supreme Court)

does not change the fact that the PA AG Lawsuit is a follow-on lawsuit to the class actions seeking



                                                 11
         Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 12 of 17




to recover the same alleged royalty underpayments for the Pennsylvania landowners represented

in the class actions.

         30.     The PA AG Lawsuit primarily seeks monetary relief—not the enforcement of a

“governmental unit’s or organization’s police and regulatory power.” See 11 U.S.C. § 362(b)(4).

As the PA AG stated in the first paragraph of its complaint, “[t]his action seeks to recover for

Pennsylvania Landowners money wrongfully deducted from royalty checks as a result of the

wrongful conduct of Defendants detailed herein.” See PA AG Second Am. Compl. ¶ 1 (emphasis

added); see also id. at pp. 35, 61, 70, 77, 81 (seeking an order compelling Chesapeake “to restore

to Pennsylvania Landowners any moneys which may have been acquired by means of any

violation of the UTPCPL”). Even in its filing to the Supreme Court on this issue, the PA AG

admits that it primarily seeks monetary relief: it seeks “to restore money,” pay civil penalties,

disgorge profits, and pay the Commonwealth costs of investigation and prosecution. Resp. § A(3).

The PA AG Lawsuit does not fall within the statutory police power exception to the automatic

stay.5

         31.     Enforcing the automatic stay as to the PA AG Lawsuit is also necessary to allow

for resolution of substantially identical class-action claims against the Debtors and preserve estate

resources. The PA AG Lawsuit involves the same leases and seeks to address alleged royalty

underpayments under the same leases as the MEC Class Action and the Non-MEC Class Action



5
    Earlier this year, the United States Bankruptcy Court for the Eastern District of Kentucky denied the PA AG’s
    request for relief from the automatic stay based on similar police power arguments. See Order, In re Americore
    Holdings, LLC, No. 19-61608-grs (E.D. Ky. Jan. 24, 2020), ECF No. 143. There, the PA AG had brought
    pre-petition claims against the owners of a non-profit hospital, which was not paying its obligations pursuant to
    a state-court sanctioned sale. The PA AG had purportedly brought the claims as parens patriae and argued that
    it was exercising its police and regulatory power to prevent harm to residents by ensuring access to healthcare
    and preventing diversion of charitable assets. The court found that the claims did not involve a matter of public
    safety, given that the hospital had closed and there was no evidence of immediate harm to the residents, and the
    action was ultimately a request to adjudicate the private rights of residents.



                                                        12
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 13 of 17




and together, the MEC and Non-MEC Class Settlements cover virtually all landowner royalty

claims against Chesapeake in Pennsylvania. The PA AG agreed that Chesapeake would be entitled

to an offset for monies paid to resolve the class actions against any recovery by the PA AG for the

Pennsylvania landowners; thus, it is not in dispute that the PA AG Lawsuit’s claims are intertwined

with and duplicative of the class action royalty claims. See June 27, 2016 Hr’g Tr. 5, Demchak

(M.D. Pa. July 8, 2016), ECF No. 160.

       32.     It also bears emphasis that it is not even clear that the PA AG had the authority to

bring the PA AG Lawsuit in the first place (and Chesapeake maintains that the PA AG does not

have such authority). After the PA AG twice amended its claims, Chesapeake answered with a

motion to dismiss the claims on the grounds that the PA AG’s UTPCPL claims—which it brought

on behalf of private landowners—were not cognizable.             That issue was appealed to the

Pennsylvania Supreme Court, was fully briefed and argued on May 27, 2020, and awaits a final

decision from that court. If the Pennsylvania Supreme Court rules for Chesapeake, the PA AG

will have delayed mutually agreeable settlements of the MEC Class Action and Non-MEC Class

Action for years without authority.

       33.     To the extent the PA AG Lawsuit (filed more than four years ago) seeks limited

injunctive relief, it is indisputably monetary in nature and based on the same leases at issue in the

class actions (i.e., it seeks to have Chesapeake pay future royalties in the same manner the state

court determines it should have paid in the past) or concerns past conduct that ended long ago. In

any event, the PA AG’s request for injunctive relief will be resolved by settlement of the MEC

Class Action and the Non-MEC Class Action. Those settlements will allow class members to elect

how Chesapeake will calculate their royalties on a go-forward basis. Consequently, once the

settlements are entered and approved by this Court, there will be no ongoing conduct to enjoin.




                                                 13
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 14 of 17




       34.     At the end of the day, Pennsylvania royalty owners have made claims of royalty

underpayment directly against Chesapeake through class actions, and the PA AG has made claims

of royalty underpayment against Chesapeake through its lawsuit. They both seek monetary relief

for those claims. Through this bankruptcy process, any claims of royalty underpayment will be

addressed through settlements or the claims process. It is not permitted, and there is no good

reason, to have collateral litigation proceed during the bankruptcy process—and the automatic stay

prevents such action.

                                Emergency Relief is Warranted

       35.     If the automatic stay is not enforced, the Debtors will be compeled to file a brief in

the Pennsylvaina Supreme Court on Monday, July 20, 2020. Therefore, the Debtors request relief

not later than Friday, July 17, 2020.

                                            Conclusion

       36.     For the foregoing reasons, the Debtors respectfully request that this Court enforce

the automatic stay.

                                               Notice

       37.     The Debtors will provide notice of this Motion to the following parties or their

respective counsel (if known): (a) the United States Trustee for the Southern District of Texas;

(b) the holders of the 50 largest unsecured claims against the Debtors (on a consolidated basis);

(c) the administrative agent under the Debtors’ proposed debtor-in-possession credit facility and

counsel thereto; (d) the administrative agent under the Debtors’ prepetition revolving credit facility

and counsel thereto; (e) the administrative agent for the Debtors’ prepetition term loan facility and

counsel thereto; (f) the indenture trustee for the Debtors’ senior secured second lien notes and

counsel thereto; (g) the indenture trustees for the Debtors’ unsecured notes; (h) counsel to the ad

hoc group of term loan lenders; (i) counsel to Franklin Advisers, Inc., as investment manager on


                                                 14
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 15 of 17




behalf of certain funds and accounts; (j) the United States Attorney’s Office for the Southern

District of Texas; (k) the Internal Revenue Service; (l) the United States Securities and Exchange

Commission; (m) the Environmental Protection Agency and similar state environmental agencies

for states in which the Debtors conduct business; (n) the state attorneys general for states in which

the Debtors conduct business; and (o) any party that has requested notice pursuant to Federal Rule

of Bankruptcy Procedure 2002. In light of the nature of the relief requested, no other or further

notice need be given.

       WHEREFORE, the Debtors respectfully request that the Court enter the Order, granting

the relief requested herein and such other relief as the Court deems appropriate under the

circumstances.




                                                 15
     Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 16 of 17




Houston, Texas
July 14, 2020

/s/ Matthew D. Cavenaugh
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Proposed Co-Counsel to the Debtors                Proposed Co-Counsel to the Debtors
and Debtors in Possession                         and Debtors in Possession




                                             16
      Case 20-33233 Document 323 Filed in TXSB on 07/14/20 Page 17 of 17




                                CERTIFICATE OF SERVICE

       I certify that on July 14, 2020, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States Bankruptcy Court for the Southern District

of Texas. Additionally, a copy of this motion was sent via e-mail to Office of the Attorney General

of the Commonwealth of Pennsylvania.

                                                       /s/ Matthew D. Cavenaugh
                                                       Matthew D. Cavenaugh




                                                17
